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 4
   Attorney for:
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 7
 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                            CASE NO. 12-CR-000169 MCE
12                                  Plaintiff,            STIPULATION EXTENDING
                                                          COMMITMENT PURSUANT TO
13   v.                                                   18 USC §4241(b), CONTINUING
                                                          COMPETENCY HEARING, AND
14   LATROY CUNNINGHAM,                                   EXCLUDING TIME; ORDER
15                                  Defendant,
16
17
                                                 STIPULATION
18
             Plaintiff, United States of America, by and through its counsel of record, and defendant
19
20 LATROY CUNNINGHAM, by and through his counsel of record, hereby stipulate as follows:
21           1.       By previous order, this matter was set for a hearing on June 26, 2014, to determine

22 defendant CUNNINGHAM’S competency to stand trial. (ECF Minute Order 229.) In addition, this
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     Court ordered defendant CUNNINGHAM committed to the custody of the Attorney General for a
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     psychiatric or psychological examination pursuant to 18 U.S.C. § 4241(b). (ECF Minute Order
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     242.)
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             2.       Defendant was received at the Metropolitan Detention Center (MDC) on May 15,
27
28 2014, for the psychiatric or psychological examination.
                                                    1
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            3.       By letter dated May 19, 2014, L. R. Thomas, Warden of MDC, requested that this
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     Court deem May 15, 2014, as the date of the commencement of the 30 day commitment pursuant to
 2
 3 18 U.S.C. § 4241(b). Furthermore, the Warden requests that this Court grant a 15 day extension to
 4 the commitment to allow for completion of the evaluation as allowed by 18 U.S.C. § 4247(b).
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            4.       The parties have no objection to this Court deeming May 15, 2014, as the date of the
 6
     commencement of the commitment and have no objection to the Warden’s request for a 15 day
 7
     extension.
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            5.       The above-referenced letter from the Warden further advises that the evaluation is
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10 expected to be completed on June 29, 2014, and that a report of the evaluation will be received by
11 the Court by July 20, 2014.
12          6.       Because of the extended commitment and time necessary for the psychiatric evaluator
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     to prepare the report, the parties stipulate that the competency hearing currently scheduled for June
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     26, 2014, may be continued to August 14, 2014.
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            7.       The parties further stipulate that for the purpose of computing time under the Speedy
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17 Trial Act, 18 U.S.C. § 3161, et seq., within which trial must commence, the time period of June 26,
18 2014, to August 14, 2014, inclusive, should be deemed excludable pursuant to 18 U.S.C.§

19 3161(h)(7)(A), B(iv) [Local Codes E and T4] because the exclusion of time results from a
20 continuance granted by the Court at defendant’s request on the basis of a pending motion and the
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     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
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     public and the defendant in a speedy trial.
23
            IT IS SO STIPULATED.
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25
     DATED:          June 20, 2014         /s/ Jason Hitt
26                                         JASON HITT
                                           Assistant United States Attorney
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   ///
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              Case 2:12-cr-00169-TLN Document 260 Filed 06/25/14 Page 3 of 3


     DATED:         June 20, 2014          /s/ Scott Cameron
 1                                         SCOTT N. CAMERON
                                           Counsel for LATROY CUNNINGHAM
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 3                                                  ORDER
 4
            It is hereby ORDERED that defendant CUNNINGHAM’S commitment for a psychiatric
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     examination shall be deemed to have commenced at his reception at the Metropolitan Detention
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 7 Center (MDC) on May 15, 2014, and for good cause shown, defendant CUNNINGHAM’S 30 day
 8 commitment for the psychiatric examination shall be extended 15 days as requested by the Warden

 9 of MDC and permitted by 18 U.S.C. § 4247(b).
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            It is further ORDERED that the competency hearing for defendant CUNNINGHAM shall be
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     continued from June 26, 2014, to August 14, 2014, at 9:00 a.m. Pursuant to the parties’ above
12
     stipulation, a report of the evaluation shall be received by the Court by July 20, 2014.
13
14          It is further ORDERED that the time period of June 26, 2014, to August 14, 2014, inclusive,

15 shall be deemed excluded from the time period within which the trial must commence, pursuant to
16 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Codes E and T4], because the exclusion of time results from
17 a continuance granted by the Court at defendant’s request on the basis of a pending motion and the
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     Court's finding that the ends of justice served by taking such action outweigh the best interest of the
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     public and the defendant in a speedy trial.
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            IT IS SO FOUND AND ORDERED.
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     Dated: June 25, 2014
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